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 1    UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
 2    --------------------------------x
                                               09 CR 466(BMC)
 3    UNITED STATES OF AMERICA
                                               United States Courthouse
 4            versus                           Brooklyn, New York

 5    JOAQUÍN ARCHIVALDO GUZMÁN LOERA,
                                               February 7, 2019
 6                   Defendant.                9:30 a. m.
      --------------------------------x
 7
                  TRANSCRIPT OF CRIMINAL CAUSE FOR JURY TRIAL
 8                    BEFORE THE HONORABLE BRIAN M. COGAN
                         UNITED STATES DISTRICT JUDGE
 9

10                                   APPEARANCES

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12    For the Government:      UNITED STATES ATTORNEY'S OFFICE
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                         Lisa Schmid, CCR, RMR
                        Official Court Reporter
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      Proceedings recorded by mechanical stenography.          Transcript
25    produced by computer-aided transcription.
                         Lisa Schmid, CCR, RMR
                        Official Court Reporter
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 1    (In open court, outside the presence of the jury at 4:15 p. m.)

 2               THE CLERK:    All rise.

 3               THE COURT:    Have a seat, please.

 4               Two notes from the jury:      Court Exhibit 12, "Can we

 5    please request Juan Carlos Abadia's (Chupeta's) testimony in

 6    regard to the Juanita shipments and ledgers.          Specifically,

 7    direct, cross and redirect."

 8               I know the parties have been working on that.          Do we

 9    have a package to give the jury?

10               MR. PURPURA:    Your Honor, we don't.      We have

11    disagreement as to what the jury should receive.           We just went

12    through it ourselves.      We just passed our disagreement to the

13    Government about five minutes ago.

14               THE COURT:    Okay.    What I'd like you to do is, tonight

15    or tomorrow morning, send to me a marked version of the

16    testimony, showing what the Government thinks should be

17    submitted and what the defense thinks should not.

18               I take it the defense is not looking for additional

19    portions?    It's thinking that the Government over-designated?

20               MR. PURPURA:    On direct, yes.     On cross, just the

21    opposite.

22               THE COURT:    So it goes both ways?

23               MR. PURPURA:    Yes.

24               THE COURT:    Okay.    So everybody mark in what you think

25    should be there, and put some other mark in some color
                         Lisa Schmid, CCR, RMR
                        Official Court Reporter
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 1    representing you what you think the other side shouldn't get in

 2    there.   Okay?     So I can just look at the transcript to know the

 3    bid and asked.

 4               MS. PARLOVECCHIO:      Yes.

 5               THE COURT:    Okay?    Let's have that as soon as

 6    possible, then I'll probably just issue an order tomorrow

 7    afternoon, letting you know where I come out.

 8               And then the jury's second note is the usual, "Can we

 9    please leave at 4:15 p.m.?"       Yes.    I'm going to bring them in.

10    They have told us they do not want to sit tomorrow.            So they

11    they're coming back on Monday, and that's the way it is.

12               I'm inclined to let Ms. Clarke talk to the alternates

13    separately, and just give the 12 the instructions that I always

14    give them before I send them off for a weekend.

15               Okay.    Please assemble the jury.     Don't stand up yet

16    because they're not in the hall.

17               (Pause in proceedings.)

18               THE COURT:    I think we've agreed the testimony is

19    going to be long enough that we're going to give it to them,

20    not read it to them, right?

21               MS. PARLOVECCHIO:      Yes, Your Honor.

22               MR. PURPURA:    Yes.

23               THE COURT:    Okay.

24               (Jury enters.)

25               THE COURT:    All right.      Everyone be seated.
                          Lisa Schmid, CCR, RMR
                         Official Court Reporter
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 1               Hello there, ladies and gentlemen.        We have your note

 2    about Chupeta's testimony and we're putting that together as

 3    quickly as we can.      I'm correct that you have elected not to

 4    sit tomorrow, is that right?

 5               JURORS:   (Nods head affirmatively.)

 6               THE COURT:    Lots of nods.    Okay.

 7               So you'll that have testimony on Monday.

 8               Let me just remind you to please stay away from any

 9    media coverage, not to discuss the case with anyone, not to do

10    any research about the case, not to talk about the case even

11    amongst yourselves until Monday morning when all 12 of you are

12    back in that room and not until all 12 of you are back in that

13    room.

14               Other than that, please have a good weekend.         Thanks

15    for your hard work.

16               (Jury exits.)

17               THE COURT:    Anything else?

18               MR. PURPURA:    Nothing by defense.

19               MR. LICHTMAN:    Thank you, Your Honor.

20               THE COURT:    Thanks.   We're in recess.     Have a good

21    weekend.

22               MS. PARLOVECCHIO:     Have a good weekend.

23          (Trial adjourned to February 11, 2019 at 9:30 a. m.)

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                         Lisa Schmid, CCR, RMR
                        Official Court Reporter
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                         Lisa Schmid, CCR, RMR
                        Official Court Reporter
